
644 S.E.2d 556 (2007)
STATE of North Carolina
v.
Kenneth J.A. KRASOVIC.
No. 6P07.
Supreme Court of North Carolina. Twelfth District.
March 8, 2007.
Kenneth J.A. Krasovic, Pro Se.
Latoya B. Powell, Associate Attorney General, Edward W. Grannis, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 4th day of January 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 8th day of March 2007."
